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                                      Exhibit B

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                                                                                    Case 23-10961-BLS                                      Doc 300-2                          Filed 09/07/23                                Page 2 of 8


                                                                                                                                                                                                                                                                                           Contract/
             Non-debtor Counterparty                                Debtor                                                                                   Contract                                                                                                 Description
                                                                                                                                                                                                                                                                                            PO Date
ACM Coal Tar Removal                          Williams Specialty Services, LLC             Lump Sum Subcontract 07920021SC04 - Change Order 001                                                                                  Delta Environmental Inc                                    9/9/2021
AIRGAS USA                                    Williams Plant Services, LLC                 PO # 63600155-017                                                                                                                     Gas Cylinders                                              1/4/2023
Alabma Metal Ind Corp Amico                   Williams Specialty Services, LLC             PO# 07920021-012                                                                                                                      Fence Materials                                            7/15/2022
AMERICAN PORTABLE TOILETS, INC                Williams Specialty Services, LLC             PO# 30230100-052                                                                                                                      Portable Toilets                                           8/12/2021
ARES STEEL                                    Williams Specialty Services, LLC             PO# 30230100-081                                                                                                                      Rebar                                                      3/16/2022
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                 PO# 63600104-091 - CO-8                                                                                                               Mobile Office Unit                                         9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                 PO# 63600104-088 - CO-8                                                                                                               Mobile office unit                                         9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                 PO# 63600104-089 - CO-8                                                                                                               Mobile office unit                                         9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                 PO# 63600104-090 - CO-8                                                                                                               Mobile office unit                                         9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                 PO# 63600104-091 - CO-8                                                                                                               Mobile office unit                                         9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                 PO # 63600155-013                                                                                                                     Office Trailers                                             1/3/2023
Ashmore Concrete Contractors                  Williams Specialty Services, LLC             Time and Material Subcontract 63600103SC02                                                                                            Concrete Pumping Services                                  5/31/2018
ASHMORE CONCRETE CONTRACTORS                  Williams Plant Services, LLC                 Time and Materials Agreement 63600104SC02                                                                                             Concrete Pumping                                           5/29/2018
AT&T                                          Williams Plant Services, LLC                 PO # 63600155-026                                                                                                                     Internet (DSL) Equipment (Blanket PO)                      1/10/2023
AUGUSTA INDUSTRIAL SERVICES                   Williams Plant Services, LLC                 Time and Materials Agreement 63600104SC06 CO -1                                                                                       Inspection Tech & Operators                                 4/6/2022
AUGUSTA INDUSTRIAL SERVICES                   Williams Plant Services, LLC                 Time and Material Subcontract 63600159SC01                                                                                            Excavations                                               12/21/2022
AUGUSTA INDUSTRIAL SERVICES                   Williams Plant Services, LLC                 Time and Material Agreement 63600165SC01                                                                                              Hydro Ex                                                   5/10/2023
BAD DAY FABRICATION                           Williams Plant Services, LLC                 PO # 63600162-001                                                                                                                     Various fabrication materials                              3/13/2023
Badger Daylighting Corp.                      Williams Specialty Services, LLC             Time and Material Subcontract 30230100TO01 - CO 002                                                                                   Hydro Excavating                                           4/26/2021
Barracuda                                     Williams Industrial Services Group, L.L.C.   INV #20902                                                                                                                            Email Archiver                                              7/9/2020
BC INDUSTRIAL SUPPLY INC                      Williams Specialty Services, LLC             PO# 30230100-080                                                                                                                      Wet/ Dry Ashpalt Blade                                      3/3/2022
Blood Hound LLC                               Williams Specialty Services, LLC             Time and Material Subcontract 30230100SC02                                                                                            Underground Utility Services                                6/2/2021
Case Contracting LTD                          Williams Specialty Services, LLC             Task Order Agreement No. 07921200TO02 - CO 001                                                                                        Electrical Services                                       12/10/2020
CEMEX                                         Williams Specialty Services, LLC             PO# 30230100-032 - CO-2                                                                                                               Concrete & Gravel                                           6/9/2021
Cisco                                         Williams Industrial Services Group, L.L.C.   INV# 356619ATL                                                                                                                        Microsoft 365 Licenses                                     2/25/2022
Cisco                                         Williams Industrial Services Group, L.L.C.   PO# 40000-055                                                                                                                         Smartnet                                                   12/2/2022
CIT Technology Fin Svcs                       Williams Industrial Services Group, L.L.C.   CIT Contract #900-0323839-000                                                                                                         Printer Leases                                             8/15/2019
Citrix                                        Williams Industrial Services Group, L.L.C.   PO# 99109-283                                                                                                                         Citrix Gateway                                             6/21/2022
Cogent                                        Williams Industrial Services Group, L.L.C.   Cogent Customer Order                                                                                                                 HQ Main Internet                                           12/9/2021
Cold Springs Machine Co Inc                   Williams Specialty Services, LLC             PO# 07920021-005                                                                                                                      Materials and Fabrication                                 10/12/2021
Comcast                                       Williams Industrial Services Group, L.L.C.   COMCAST BUSINESS SERVICE ORDER                                                                                                        HQ Backup Internet                                         2/11/2022
Complete Mobile Home Setup, LLC               Williams Plant Services, LLC                 Time and Materials Agreement 63600105TO01 CO-008                                                                                      Mobile Offices Setup                                       6/11/2018
Complete Mobile Home Setup, LLC               Williams Plant Services, LLC                 Time and Materials Agreement 63600111TO01 CO -3                                                                                       Set up/ Knockdown Services                                 5/23/2019
Con Edison                                    Williams Specialty Services, LLC             PO #5634925 - CO - 003                                                                                                                Bronx River 36" Gas Main                                   6/28/2021
Con Edison                                    Williams Specialty Services, LLC             PO #5426662 - CO -7                                                                                                                   Hudson Elevator                                             2/6/2020
Con Edison                                    Williams Specialty Services, LLC             BPA 5921728                                                                                                                           Con Ed Maintenance                                         5/19/2023
Concur                                        Williams Industrial Services Group Inc.      Concur Technologies Business Services Agreement                                                                                       Expense management                                         1/31/2013
CONSTRUCTION RESOURCES GROUP                  Williams Specialty Services, LLC             PO# 30230100-059 - CO-1                                                                                                               Fence Fabrication                                           9/1/2021
Cranston Engineering Group, PC                Williams Specialty Services, LLC             Time and Material Subcontract 63600103TO02                                                                                            Engineering Support                                        7/24/2019
CRANSTON ENGINEERING GROUP, PC                Williams Plant Services, LLC                 Task Order Agreement No. 63600104TO02                                                                                                 Engineering Support                                        7/24/2019
D R DAVIES CONTRACTOR LLC                     Williams Plant Services, LLC                 Time and Materials Agreement 63600104SC08                                                                                             Railroad Tracks                                            3/16/2023
D R DAVIES CONTRACTOR LLC                     Williams Plant Services, LLC                 Time and Materials Agreement 63600104SC09                                                                                             Track Construction                                         3/16/2023
Dell Computer                                 Williams Specialty Services, LLC             PO# 07920021-006                                                                                                                      Computer Equipment                                         11/7/2021
DELL COMPUTER                                 Williams Plant Services, LLC                 PO# 36300146-016 - CO-1                                                                                                               Computer equipment                                          9/1/2022
DELL COMPUTER                                 Williams Plant Services, LLC                 PO # 62700002-009                                                                                                                     Computer equipment                                         9/26/2022
DIGITAL OFFICE EQUIPMEMNT                     Williams Plant Services, LLC                 PO # 63600155-020                                                                                                                     Copier Maintenance                                          1/4/2023
DUO                                           Williams Industrial Services Group, L.L.C.   PO# 88109-287                                                                                                                         MFA                                                         9/1/2022
EAST COAST LUMBER & SUPPLY CO                 Williams Specialty Services, LLC             PO# 30230100-074                                                                                                                      Hardware Materials                                         12/2/2021
EAST COAST LUMBER & SUPPLY CO                 Williams Specialty Services, LLC             PO# 30230100-119                                                                                                                      Water                                                      4/20/2023
EAST COAST LUMBER & SUPPLY CO                 Williams Specialty Services, LLC             PO# 30230100-121                                                                                                                      Cold Galvanize Spray                                       6/29/2023
Edge                                          Williams Industrial Services Group, L.L.C.   Edge Maintenance Agreement                                                                                                            Printer Maintenance                                         4/8/2019
Energy Northwest                              Williams Plant Services, LLC                 Agreement for Consulting and Technical Services (337687) - Rev 4                                                                      ENW Background Screening                                   3/25/2013
Energy Northwest                              Williams Plant Services, LLC                 Basic Ordering Agreement No. 351956                                                                                                   Maintenance Support/ Outage                                 9/7/2022
Energy Northwest                              Williams Plant Services, LLC                 Small Works Contract No. 361614                                                                                                       Breaker Replacement                                        1/11/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                 PO# 36300146-091                                                                                                                      Chainsaw                                                   7/24/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                 PO # 63600167-008                                                                                                                     Materials                                                  7/14/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                 PO # 62700002-013                                                                                                                     Safety PPE and other items                                 1/19/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                 PO # 62700002-014                                                                                                                     Hardhats                                                   2/10/2023
FACTORY DIRECT SUPPLY                         Williams Specialty Services, LLC             PO# 30230100-117                                                                                                                      Besser Bricks                                              3/17/2023
FASTENAL COMPANY                              Williams Plant Services, LLC                 PO# 36300146-006                                                                                                                      Steel Pipe                                                 8/11/2022
Flexential                                    Williams Industrial Services Group, L.L.C.   Flexential Managed Services Agreement                                                                                                 Data Center                                                 4/4/2017
Florida Power & Light                         Williams Specialty Services, LLC             FOF 2020 Replacement of Security Fence - CO Williams Specialty Services, LLC 008                                                      Security Fence Replacement                                11/11/2020
Fusion Tech Communications LLC                Williams Specialty Services, LLC             Lump Sum Subcontract 07921200SC03 - CO 001                                                                                            Lighting Fixtures                                          11/1/2022
Georgia Pacific                               Williams Industrial Services LLC             Georgia Pacific Purchase Order: P3962300787                                                                                           Weekend Outage                                             5/15/2023
Georgia Pacific                               Williams Industrial Services LLC             Georgia Pacific Purchase Order: P3962301170                                                                                           Weekend Outage                                             7/26/2023
GOLDEN ISLES SUPPLY CO., INC.                 Williams Plant Services, LLC                 PO# 36300146-090                                                                                                                      Materials (wire)                                           7/14/2023
Granite                                       Williams Industrial Services Group, L.L.C.   Commercial Account Form and Letter of Agency – Mobility Services                                                                      Mobile phone management                                     6/4/2020
GRANITE TELECOMMUNICATIONS LLC                Williams Plant Services, LLC                 PO # 62700002-008                                                                                                                     Mobile communications                                      9/16/2022
GUBMK (United E&C)GUBMK (Worley Group, Inc)   Williams Plant Services, LLC                 Joint Venture Agreement Between and Among Worley Group, Inc, Williams Plant Services, LLC and United Engineers & Constructors, Inc.   GUBMK JV Agreement                                        11/20/1991
HARPER LINE STRIPING CO                       Williams Plant Services, LLC                 Lump Sum Subcontract 63600167SC01 - CO-001                                                                                            Line Striping                                               6/8/2023
HDS WHITE CAP CONST SUPPLY                    Williams Plant Services, LLC                 PO# 36300146-046                                                                                                                      Marking Paint - Mag Nails - Flagging                       1/13/2023
HDS WHITE CAP CONST SUPPLY                    Williams Plant Services, LLC                 PO# 36300146-072                                                                                                                      Materials                                                   4/4/2023
HERC RENTALS                                  Williams Specialty Services, LLC             PO# 30230100-019 - CO-8                                                                                                               Equipment Rental                                           4/20/2021
HERC RENTALS                                  Williams Specialty Services, LLC             PO# 30230100-027                                                                                                                      Equipment Rental                                            6/2/2021
HERC RENTALS                                  Williams Specialty Services, LLC             PO# 30230100-096                                                                                                                      Fork Lift Rental                                           8/17/2022
HERC RENTALS                                  Williams Plant Services, LLC                 PO# 63600105-001 - CO-6                                                                                                               3/4 Ton Crew 4WD Pickup Truck Rental                        5/9/2018
HERC RENTALS                                  Williams Plant Services, LLC                 PO# 63600105-009 - CO-3                                                                                                               1/2 Ton Crew Pickup Truck Rental and tool box accessory    5/24/2018
HERC RENTALS                                  Williams Plant Services, LLC                 PO # 63600147-003                                                                                                                     Equipment Rental                                            9/6/2022
HERC RENTALS                                  Williams Plant Services, LLC                 PO# 63600147-004 - CO-1                                                                                                               Equipment Rental                                            9/8/2022
HERC RENTALS                                  Williams Plant Services, LLC                 PO # 63600155-006                                                                                                                     Equipment Rental                                          12/21/2022
HERC RENTALS                                  Williams Plant Services, LLC                 PO # 63600155-007                                                                                                                     Equipment Rental                                          12/21/2022
HERC RENTALS                                  Williams Plant Services, LLC                 PO# 63600155-029 - CO-1                                                                                                               Equipment Rental                                           2/14/2023
HERC RENTALS                                  Williams Plant Services, LLC                 PO# 63600155-032 - CO-1                                                                                                               Equipment Rental                                            3/6/2023
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                                                                                                                                                                                                                                                                        Contract/
              Non-debtor Counterparty                                Debtor                                                                                    Contract                                                            Description
                                                                                                                                                                                                                                                                         PO Date
HERC RENTALS                                   Williams Plant Services, LLC                 PO# 63600155-036 - CO-2                                                                            Equipment Rental                                                          5/15/2023
HERC RENTALS                                   Williams Plant Services, LLC                 PO # 63600170-01                                                                                   Equipment Rental                                                          7/26/2023
Holtec International                           Williams Plant Services, LLC                 Holtec International General T&C (GTC-Services)                                                    General Terms & Conditions                                                1/24/2019
Holtec International                           Williams Plant Services, LLC                 Holtec International Purchase Order: 133675                                                        Pool to Pad Labor (Sequoyah)                                              5/15/2023
Holtec International                           Williams Plant Services, LLC                 Holtec International Purchase Order: 134003                                                        Craft Labor Support (Dresden)                                              5/2/2023
Holtec International                           Williams Plant Services, LLC                 Holtec International Purchase Order: 133976                                                        Craft Labor Support                                                        5/8/2023
HSE Contractors Inc                            Williams Specialty Services, LLC             Task Order Agreement No. 07921200TO01                                                              Scheduling Services                                                       7/21/2020
Hudson Elevator Group                          Williams Specialty Services, LLC             Lump Sum Subcontract 07921200SC01 - CO 001                                                         Elevator Install                                                           2/6/2019
Ikegami Engineering, Inc.                      Williams Plant Services, LLC                 Time and Materials Contract                                                                        Ultium Cells Plants (OH, TN)                                              6/30/2022
Iland (11:11)                                  Williams Industrial Services Group, L.L.C.   iland GLOBAL MASTER SERVICE AGREEMENT                                                              DRAAS                                                                     3/20/2020
IMPACT RENTALS, LLC                            Williams Plant Services, LLC                 PO # 63600147-002                                                                                  Equipment Rental                                                          8/19/2022
IMPACT RENTALS, LLC                            Williams Plant Services, LLC                 PO# 63600155-033 - CO-1                                                                            Equipment Rental                                                          3/23/2023
Insight                                        Williams Industrial Services Group Inc.      Microsoft Products and Services Agreement                                                          MS Server licenses                                                        2/25/2022
JM TEST SYSTEMS INC                            Williams Plant Services, LLC                 PO# 63600155-014 - CO-1                                                                            Cable Analyzers                                                            1/4/2023
KELLY TRACTOR CO                               Williams Specialty Services, LLC             PO# 30230100-069 - CO-2                                                                            Equipment Rental                                                          11/2/2021
KnowBe4                                        Williams Industrial Services Group, L.L.C.   PO# 88109-272                                                                                      KnowBe4                                                                 10/15/2022
Lan Darty Real Estate dba D. Ream Properties   Williams Plant Services, LLC                 Lease Agreement                                                                                    Background Group Oﬃce (2543 Ross Clark CircleSuite 2Dothan, AL 36301)     11/2/2021
LeaseQuery                                     Williams Industrial Services Group Inc.      SalesOrder 2938                                                                                    Lease tracking                                                            2/28/2019
Loadspring                                     Williams Industrial Services Group, L.L.C.   Loadspring master Service Agreement                                                                Application Hosting                                                       9/26/2018
LOWES CREDIT SERVICES                          Williams Specialty Services, LLC             PO# 30230100-036                                                                                   Blanket PO for small tools                                                6/14/2021
LOWES CREDIT SERVICES                          Williams Specialty Services, LLC             PO# 30230100-110                                                                                   Small Tools                                                               2/20/2023
LOWES CREDIT SERVICES                          Williams Specialty Services, LLC             PO# 30230100-111                                                                                   Consumables                                                               2/20/2023
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                 PO# 63600105-017 - CO-2                                                                            Blank PO for small tools/ consumables                                     6/20/2018
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                 PO# 36300146-048                                                                                   Materials                                                                 1/30/2023
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                 PO # 63600167-009                                                                                  Blanket Materials PO                                                      7/18/2023
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                 PO# 62700002-003 - CO-1                                                                            Materials                                                                 7/13/2022
M&W Precast LLC                                Williams Specialty Services, LLC             PO# 07920021-010                                                                                   Materials and Fabrication                                                 6/17/2022
MACUCH STEEL PRODUCTS, INC.                    Williams Plant Services, LLC                 PO # 63600167-011                                                                                  Steel materials                                                           7/19/2023
MAGID GLOVE & SAFETY MFG CO                    Williams Plant Services, LLC                 PO# 36300146-071                                                                                   Tools/ Materials                                                           4/3/2023
MalwareBytes                                   Williams Industrial Services Group, L.L.C.   Malware Bytes Sales Order                                                                          Antivirus anti-malware                                                     1/8/2021
MANER BUILDERS SUPPLY CO LLC                   Williams Plant Services, LLC                 PO# 63600105-006 - CO-8                                                                            Materials                                                                 5/21/2018
MANER BUILDERS SUPPLY CO LLC                   Williams Plant Services, LLC                 PO # 63600167-010                                                                                  Materials                                                                 7/19/2023
MARTIN MARIETTA MATERIALS                      Williams Plant Services, LLC                 PO# 36300146-009 - CO-4                                                                            Blanket PO for stone                                                      8/12/2022
MAXIM CRANE WORKS, LP                          Williams Specialty Services, LLC             PO# 30230100-112 - CO-1                                                                            50 Ton Crane                                                              2/20/2023
MAXIM CRANE WORKS, LP                          Williams Plant Services, LLC                 PO # 63600155-012                                                                                  Crane Rental                                                               1/3/2023
MAXIM CRANE WORKS, LP                          Williams Plant Services, LLC                 PO # 63600155-018                                                                                  Crane Rental                                                               1/4/2023
MCKINNEY WHOLESALE CO INC                      Williams Plant Services, LLC                 PO # 63600167-012                                                                                  Treated Lumber                                                            7/21/2023
Microsoft                                      Williams Industrial Services Group, L.L.C.   INV# 19609                                                                                         Office 365                                                              Monthly
Miller Electric Company                        Williams Specialty Services, LLC             Time and Material Subcontract 30230100SC04 - CO 001                                                Temp Power                                                                 2/8/2022
Miller Electrical Contractors                  Williams Specialty Services, LLC             Time and Material Subcontract 30230100SC01 - CO 001                                                Electrical Services                                                       4/14/2021
MOBILE MINI INC                                Williams Specialty Services, LLC             PO# 30230100-013 - CO-2                                                                            Container Rental                                                          4/13/2021
MOBILE MINI INC                                Williams Plant Services, LLC                 PO# 63600155-011 - CO-1                                                                            Temporary Building Rental                                                  1/5/2023
NATIONAL CONSTRUCTION RENTALS                  Williams Plant Services, LLC                 PO # 63600155-034                                                                                  Temporary Fence                                                           4/11/2023
NPE Consultants, LLC                           Williams Specialty Services, LLC             Task Order Agreement No. 07920024TO01                                                              Engineering Services                                                      10/6/2022
Oleary Construction Inc                        Williams Specialty Services, LLC             Lump Sum Subcontract 07920021SC05                                                                  Construction Services                                                   10/13/2021
P&I SUPPLY CO                                  Williams Plant Services, LLC                 PO# 63600105-020                                                                                   Consumables                                                               7/24/2018
Pantheon                                       Williams Industrial Services Group, L.L.C.   Pantheon Order Form                                                                                Website hosting                                                            2/7/2022
ParkPlace Technology                           Williams Industrial Services Group Inc.      Park Place SCHEDULE : 626982-1                                                                     hardware maintenance                                                      12/1/2020
Peepels Mechanical Corporation                 Williams Specialty Services, LLC             Lump Sum Subcontract 07920021SC08                                                                  HVAC work                                                                 6/17/2022
Penta                                          Williams Industrial Services Group, L.L.C.   Master Penta Agreement                                                                             ERP                                                                       3/29/2005
Pixelle Specialty Solutions                    Williams Industrial Services LLC             Purchase Order # 4500020149                                                                        12PM Straw Shed Siding                                                     4/4/2023
Pixelle Specialty Solutions                    Williams Industrial Services LLC             Purchase Order # 4500022427                                                                        12PM Gutter Clean                                                          5/3/2023
Pixelle Specialty Solutions                    Williams Industrial Services LLC             Purchase Order # 4500026062                                                                        Bldg 66 Roof Repairs                                                       7/6/2023
Pixelle Specialty Solutions                    Williams Industrial Services LLC             Purchase Order # 4500026303                                                                        RPR Roof Decking Repair Door                                              7/11/2023
PLANT MACHINE & WELDING INC.                   Williams Specialty Services, LLC             PO# 30230100-124                                                                                   Galvanized Plates                                                          7/3/2023
POLLOCK COMPANY                                Williams Plant Services, LLC                 PO # 63600155-019                                                                                  Copier Maintenance                                                         1/4/2023
RED-D-ARC INC                                  Williams Plant Services, LLC                 PO # 63600155-016                                                                                  Cylinder Cages                                                             1/4/2023
RedHat                                         Williams Industrial Services Group, L.L.C.   PO#88109-281                                                                                       Linux                                                                      2/4/2022
Requordit                                      Williams Industrial Services Group, L.L.C.   Requordit SCOPE OF WORK NO. SO-9437                                                                Penta Document Management                                               10/25/2022
SalesForce                                     Williams Industrial Services Group Inc.      SalesOrder 26242766                                                                                CRM                                                                       6/15/2023
SALTER BUILDING SUPPLY INC.                    Williams Plant Services, LLC                 PO# 63600105-023                                                                                   Blanket PO for materials                                                  9/18/2018
SALTER BUILDING SUPPLY INC.                    Williams Plant Services, LLC                 PO# 63600105-024 - CO-1                                                                            Blanket PO for materials                                                  9/18/2018
SolCyber                                       Williams Industrial Services Group, L.L.C.   SolCyber Order Form - Managed Security Services                                                    Managed Security Service                                                10/28/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 56524 for Alvin W. Vogtle 3&4 - Amm 1                                    Facilities                                                                3/23/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 56524-0002 - Rev8                                                                              Facilities                                                                5/16/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 56524-0003                                                                                     Facilities - Trailer City Demob                                            4/1/2019
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 57456 for Alvin W. Vogtle 3&4 - Amm 14                                   Permanent Plant Security System                                           4/12/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 57456-0002/6 L1 L3 - Rev 14                                                                    Security Perimeter                                                        5/29/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 69774 for Alvin W. Vogtle 3&4 - Rev 1                                    ADT Support                                                                3/2/2021
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 69774-0004 - Rev 3                                                                             ADT Support                                                                4/1/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 76012 for Alvin W. Vogtle 3&4 - Amm 1                                    North 40 - Base Scope (Directs + Material)                                 8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 76012-0001 - Rev 6                                                                             North 40 - Base Scope (Directs + Material)                                 8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 76012-0002 - Rev 8                                                                             North 40 - Hotel Load (Staff + Hotel + Indirects)                          8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 76012-0003 - Rev 7 5                                                                           North 40 - Craft Incentives                                                8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 76012-0006                                                                                     North 40 - Misc Site Support                                            12/13/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 76012-0008 - Rev 5                                                                             Vogtle 3 & 4 Hotel Load (Staff and Equipment)                             1/17/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 85869 for Alvin W. Vogtle 3&4                                            ITP/FIN team - Seconded to Southern                                        3/9/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 85869-0001                                                                                     ITP/FIN team - Seconded to Southern                                        3/9/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 76012 for Alvin W. Vogtle 3&4                                            North Road Project                                                         8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 76012 for Alvin W. Vogtle 3&4                                            North Road Project - Amendment No. 1                                       8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 76012-0009 - Rev 4                                                                             Hydro Excavation Activities                                               5/17/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                 SNC Purchase Contract No. 86588 for Alvin W. Vogtle 3&4                                            Parking Lot Project                                                       5/16/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                 PO# 86588-0001 - Rev 2                                                                             South 40 - Road/ASB Parking Lot                                           5/22/2023
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                                                                                                                                                                                                                                                           Contract/
             Non-debtor Counterparty                           Debtor                                                                                      Contract                                                          Description
                                                                                                                                                                                                                                                            PO Date
Southern Nuclear Operating Company        Williams Plant Services, LLC                    PO# 86588-0002 - Rev 1                                                                           South 40 - Indirect Craft                                        5/19/2023
Southern Nuclear Operating Company        Williams Plant Services, LLC                    PO# 86588-0003 - Rev 1                                                                           South 40 - Incentives                                            5/19/2023
Southern Nuclear Operating Company        Williams Plant Services, LLC                    PO# 86588-0004 - Rev 1                                                                           South 40 - Equipment                                             5/21/2023
Southern Nuclear Operating Company        Williams Plant Services, LLC                    PO# 86588-0005                                                                                   South 40 Batch Plant Support                                     6/23/2023
Southern Nuclear Operating Company        Williams Plant Services, LLC                    SNC Purchase Contract No. 73391 for Hatch                                                        Hatch Unit 2 Feedwater Heater                                     3/9/2022
Southern Nuclear Operating Company        Williams Plant Services, LLC                    PO# SNC73391-0002                                                                                Hatch Unit 2 Feedwater Heater                                    3/16/2022
Southern Nuclear Operating Company        Williams Plant Services, LLC                    SNC Purchase Contract No. 68318 for Joseph M. Farley - Amm 2                                     Class B Smoke Detector Replacement Projects                       9/8/2020
Southern Nuclear Operating Company        NA                                              PO# SNA68318-0004                                                                                Fire Detection                                                    1/3/2023
Southern Nuclear Operating Company        Williams Plant Services, LLC                    SNC Purchase Contract No. 71225 for Alvin W. Vogtle 1-4                                          Background Screenings                                            7/26/2021
Southern Nuclear Operating Company        Williams Plant Services, LLC                    PO #SNC71225-0002                                                                                Farley, Hatch, Vogtle 1&2 Background Screenings                  8/26/2021
Southern Nuclear Operating Company        Williams Plant Services, LLC                    PO #SNC71225-0003                                                                                Vogtle 3&4 Background Screenings                                12/31/2021
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   Master Agreement (MA) 19276 - Leased Worker Services                                             Leased Employees                                                12/22/2017
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   MA 19276 Amendment 1                                                                             Leased Employees                                                 5/23/2018
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   MA 19276 Amendment 1.1                                                                           Leased Employees                                                  7/1/2021
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   MA 19276 Amendment 2                                                                             Leased Employees                                                  7/1/2021
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   SNC37904-0004                                                                                    Leased Worker Services - Labor                                    4/1/2022
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   SNC37904-0005                                                                                    Leased Worker Services - Expenses                                 4/1/2022
SOUTHERNLINC WIRELESS                     Williams Plant Services, LLC                    PO# 63600105-018 - CO-1                                                                          Blanket PO for Push to Talk                                       7/9/2018
SOUTHERNLINC WIRELESS                     Williams Plant Services, LLC                    PO# 63600105-030 - CO-1                                                                          Blanket PO for Push to Talk                                      1/23/2019
SOUTHERNLINC WIRELESS                     Williams Plant Services, LLC                    PO # 63600155-015                                                                                Push to Talk - mobile communications                              1/4/2023
Southway Crane & Rigging                  Williams Specialty Services, LLC                Time and Material Subcontract 63600103SC03                                                       Crane Services                                                   9/11/2018
STAPLES INC.                              Williams Plant Services, LLC                    PO # 62700002-002                                                                                Office Supplies                                                  6/28/2022
SUNBELT RENTALS                           Williams Plant Services, LLC                    PO # 63600155-008                                                                                Equipment Rental                                                12/21/2022
SUNBELT RENTALS                           Williams Plant Services, LLC                    PO# 63600155-009 - CO-1                                                                          Equipment Rental                                                12/21/2022
Tech Valley Engineering, PLC              Williams Specialty Services, LLC                Task Order Agreement No. 07920021TO02- CO-006                                                    Engineering Services                                             8/31/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    10728 TVA MSA - Amm 6                                                                            MSA                                                              10/6/2015
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7167318                                                                                      PO# BFN U3 LP FW HTR Project                                    12/28/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7218944                                                                                      PO# BFN Control Room Planning Support                            3/29/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7332514                                                                                      PO# BFN Phase 3 Planning Support                                 8/31/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7339675                                                                                      PO# BFN Phase 3 Headend Replacement                               9/9/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7501330                                                                                      PO# BFN Control Room Habitability Support                         7/7/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7014064                                                                                      PO# SQN U2 Traveling Water Screen Phase 1 Planning               9/13/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7015598                                                                                      PO# SQN U1 Traveling Water Screen Phase 1 Planning               9/14/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7171685                                                                                      PO# SQN U2 FWH Admin Support                                      1/5/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7218966                                                                                      PO# SQN Planning Support for Control Room Upgrade                3/29/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7252987                                                                                      PO# SQN FTS Repair Work                                          5/17/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7248678                                                                                      PO# SQN FTS Planning Support                                     5/11/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7325810                                                                                      PO# SQN Phase 2 Planning                                         8/23/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7325020                                                                                      PO# SQN U2 Turbine Crane Walkdown                                8/22/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7349452                                                                                      PO# SQN PIRT Scaffold Support U2R25 and U1R26                    9/29/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7362942                                                                                      PO# SQN Fleet Center Procedure Update Support                   10/12/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7376520                                                                                      PO# SQN FY23 Safety Fundamental Awards                          10/30/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7429202                                                                                      PO# SQN Rescue Boat for TWS Tree Cutting                          2/9/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7436863                                                                                      PO# SQN Planning and Field Support                               2/27/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7432251                                                                                      PO# SQN Planning Support for SCBA                                2/16/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7433002                                                                                      PO# SQN Lighting Implementation                                  2/17/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7447933                                                                                      PO# SQN RCI Laborer Support                                      3/30/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7450607                                                                                      PO# SQN Planning Support - High Risk                             3/28/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7450611                                                                                      PO# SQN Planning Support - Medium Risk                           3/28/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7452149                                                                                      PO# SQN Additional Funding Excitation Support                    3/31/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7455774                                                                                      PO# SQN Boot Seal Replacement for U1 U1R26 Outage                 4/7/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7455787                                                                                      PO# SQN QI and Welding Rod Issuance Personnel                     4/7/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7473318                                                                                      PO# SQN Build Scaffold for Buss Cleaning                         5/16/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7476624                                                                                      PO# SQN U2 Wattle Installation Part 2                            5/24/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7477251                                                                                      PO# SQN U1 Boot Seal Repl/Install for Small Bore Piping          5/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7477257                                                                                      PO# SQN U2 Boot Seal Repl/Install for Small Bore Piping          5/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7481684                                                                                      PO# SQN Level Transmitter Abandonment                             6/6/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7487617                                                                                      PO# SQN QA0 Scaffold Support                                     6/21/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7496046                                                                                      PO# SQN Planning/Implementation 1st 10 ASCO Valve Replacement    7/13/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7496410                                                                                      PO# SQN Augmented Fire Watch Support                             7/14/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7420986                                                                                      PO# WBN Engineering Support                                      1/23/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7451728                                                                                      PO# WBN Turbine Building Crane Phase 2 Planning Support          3/30/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7455343                                                                                      PO# WBN Fleet Planning Support                                    4/6/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7344866                                                                                      PO# BLN Maintenance Services Contract for FY23                   9/16/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7175698                                                                                      PO# TVA/SQN/IT INFRASTRUCTURE 1/TP                               3/25/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7378747                                                                                      PO# TVA/SQN/IT INFRASTRUCTURE 2/TP                               11/2/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7378753                                                                                      PO# TVA/SQN/IT INFRASTRUCTURE 3/TP                               11/2/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7356217                                                                                      PO# Chickamauga Waterline Upgrade                                 5/2/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7422616                                                                                      PO# WBN Training Center Roofing Project Truck Path               1/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7422656                                                                                      PO# SQN Smart Meter Installation                                 1/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7445309                                                                                      PO# SQN Planning IT Cable - Phases 2 3 4                         3/16/2023
Thompson Industrial Service               Williams Specialty Services, LLC                Time and Material Subcontract 63600103SC05                                                       Excavation Services                                              2/18/2019
THOMPSON INDUSTRIAL SERVICE               Williams Plant Services, LLC                    Time and Materials Agreement 63600104SC04                                                        Excavation Services                                              2/18/2019
Thomson Rueters                           Williams Industrial Services Group Inc.         End-User License Agreement for Taxstream Provision and Planning Software                         Tax software                                                    10/20/2008
Toolwatch                                 Williams Industrial Services Group, L.L.C.      Managed Subscription Agreement ToolWatch Enterprise                                              Equipment management                                             4/19/2018
TRI-STATE DISTRIBUTORS                    Williams Plant Services, LLC                    PO# 63600105-046 - CO-1                                                                          Blanket PO - Materials                                          10/24/2019
UKG                                       Williams Industrial Services Group, L.L.C.      The Ultimate Software Group, Inc. SaaS Agreement                                                 HRIS                                                             3/10/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-003 - CO-01                                                                         Equipment Rental                                                 3/26/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-007                                                                                 Equipment Rental                                                 3/31/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-018                                                                                 Equipment Rental                                                 4/20/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-086 - CO-1                                                                          Equipment Rental                                                  5/4/2022
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-115 - CO-1                                                                          Equipment Rental                                                  3/6/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600105-027 - CO-1                                                                          Rental Equipment                                                12/11/2018
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                                                                                                                                                                                                                                          Contract/
           Non-debtor Counterparty                         Debtor                                                                              Contract                                                               Description
                                                                                                                                                                                                                                           PO Date
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600105-028 - CO-7                                                                           Rental Equipment                                      12/18/2018
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600105-037 - CO-2                                                                           Rental Equipment (3/4 Ton Crew Cab)                     6/3/2019
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600105-042 - CO-4                                                                           Rental Equipment (1/2 Ton Crew Cab)                    7/30/2019
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600105-047                                                                                  Rental Equipment - Glass Repair                        1/27/2020
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600147-001 - CO-2                                                                           Equipment Rental                                       8/11/2022
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600147-005                                                                                 Equipment Rental                                        9/8/2022
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600147-006                                                                                 Equipment Rental                                       9/14/2022
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600147-007                                                                                 Equipment Rental                                       9/15/2022
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600147-008                                                                                 Equipment Rental                                      11/14/2022
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600155-010                                                                                 Equipment Rental                                      12/22/2022
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600155-022                                                                                 Equipment Rental                                        1/5/2023
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600155-023 - CO-2                                                                           Equipment Rental                                        1/8/2023
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600155-024                                                                                 Equipment Rental                                        1/6/2023
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600155-025 - CO-3                                                                           Equipment Rental                                        1/6/2023
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO# 63600155-028 - CO-1                                                                           Equipment Rental                                       2/14/2023
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600155-030                                                                                 Equipment Rental                                       2/22/2023
UNITED RENTALS-PAYMENT CENTER        Williams Plant Services, LLC                 PO # 63600155-037                                                                                 Equipment Rental                                        7/6/2023
VEEAM                                Williams Industrial Services Group, L.L.C.   INV# 354048                                                                                       VEEAM                                                  12/1/2022
Verde Electric Corporation           Williams Specialty Services, LLC             Time and Material Subcontract 07920021SC01 - CO-001                                               Electrical Services                                    7/12/2021
VMWare                               Williams Industrial Services Group, L.L.C.   PO# 88109-264                                                                                     VMWare                                                  8/6/2022
Waste Connections of NY, INC         Williams Specialty Services, LLC             PO# 07920021-004                                                                                  Trash Pickup                                           8/27/2021
WASTE PRO OF FLORIDA, INC            Williams Specialty Services, LLC             PO# 30230100-057                                                                                  Dumpster                                               8/27/2021
Welding Works, Inc.                  Williams Specialty Services, LLC             PO# 07920021-001 - CO-1                                                                           Materials and Fabrication                              6/30/2021
WELLS FARGO VENDOR FINANCIAL         Williams Plant Services, LLC                 PO # 63600155-021                                                                                 Copier Lease                                            1/4/2023
WestRock CP, LLC                     Williams Industrial Services Group Inc.      ROCKTENN Master Equipment/Parts/Service Agreement                                                 MSA                                                    8/10/2015
WestRock CP, LLC                     Williams Industrial Services Group Inc.      First Amendment to ROCKTENN Master Equipment/Parts/Service Agreement                              MSA Amendment #1                                      11/17/2015
WestRock CP, LLC                     Williams Industrial Services Group, L.L.C.   Second Amendment to ROCKTENN Master Equipment/Parts/Service Agreement                             MSA Amendment #2                                      11/27/2018
WestRock CP, LLC                     Williams Industrial Services Group, L.L.C.   Assignment of and Third Amendment to ROCKTENN Master Equipment/Parts/Service Agreement            MSA Amendment #3                                       5/13/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23282467                                                                         Storm Water Inspection 2023                            3/28/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 16888558 - CO-2                                                                  SCAFF #2 PM OPERATOR FLR BEAM INSPECTION               4/20/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23556707                                                                         PAINT CLOCK HOUSE JULY VIP TOUR                        6/13/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23554877                                                                         PAINT #3 PM SOUTH STAIRWELL VIP TOUR                   6/13/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23269887                                                                          CLEAN DEAERATOR BUILDING ROOF                         3/24/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23461645                                                                          REPAIR ROLL HANDLING ROOF                             5/11/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 17665443                                                                         INSUL #5 PPT EAST DRAG CHAIN CONVEYOR                   7/2/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 18590651                                                                         INSUL #5 RB 75% BLACK LIQUOR PURGE LINE                9/28/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 18724839                                                                         INSUL #8 PB 5TH FLOOR ASH LINE                         10/8/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 18785936 - CO-1                                                                  SCAFF CHIP SILO BINDICATOR                             10/6/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 19021283                                                                         INSUL #8 BOILER STEAM TRAP 1/2" LINE                  10/17/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 19823602                                                                         PULP MILL WINTERIZATION                                12/7/2021
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 20351807                                                                         SCAFF C-SET EVAPORATOR OUTAGE                           7/8/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 20106532                                                                         INSUL #XXX-XX-XXXX FUEL OIL PUMP                        1/5/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 21088043                                                                         INSUL #5 PPT WEST DRAG CHAIN                           8/10/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 21187465                                                                         SCAFF PAPER MILL TANK FARM VENT LINES                  5/19/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 21756642                                                                         ADDT'L SCAFF RENT #2 PM FLOOR BEAM 5/1/22 - 9/30/22     8/4/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 21475132                                                                         INSUL #10 PB DUST HOPPERS                              6/30/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22176588                                                                         SCAFF #10 PB ASH LN WAREBACK IN BASEMENT               10/3/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22173619 - CO-1                                                                  SCAFF OLD DRY MACH BLDG PERSONNEL CANOPY               10/3/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 21059150                                                                         MODIFY #1 PM WEST SIDE STRUCTURAL STEEL                4/25/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22274981                                                                         PERSONNEL PROTECTION #3 PM STEAM JOINTS               10/14/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22290711                                                                         INSUL #10 PB DUST COLLECTOR HOPPER                    10/17/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22564241                                                                         SCAFF #58 WHITE LQR PUMP CROSS BRACING                11/15/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22762187                                                                         CLEAN PULP MILL AREA NOVEMBER 2022                    12/20/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22791200                                                                         HARDWOOD STACKER REBUILD                              12/27/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22799277                                                                         SCAFF #2 PM MEZZ CONDENSATE LINE LEAK                 12/28/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22934991                                                                         INST WALKBRDS WWTP COOLING TWR CENTER FAN              1/23/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22290692                                                                         SCAFF N WALL DEAERATOR BLDG E OF CATWALK              10/17/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22990894                                                                         INSUL PAPER MILL PIPE MEASUREMENTS                      2/1/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23023604                                                                         INSUL #5 RB SOUTH SIDE WASHUP LINE                      2/7/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23029102                                                                         INSUL DEAERATOR BLDG 400# STEAM PRV VALVE               2/8/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 22177429                                                                         CLEAN TURBINE COOLING TWR N & E SIDES                  10/3/2022
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23145992                                                                         DEMO NORTH WALL DEAERATOR BLDG                         2/27/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23488949                                                                         INSUL DOMESTIC WTR LN NEAR BOIL OUT TANK               5/22/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23490108                                                                         INSUL MILL LAB DOMESTIC WATER LINE                     5/22/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23167378                                                                         SCAFF PULP MILL #600 FLOW METER                         3/2/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23472974                                                                         INSUL #4 RB BLACK LIQUOR LINE LEAK                     5/16/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23218686                                                                         SCAFF EFFLUENT LINE REPAIRS                            3/13/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23217814                                                                         SCAFF PAPER MILL E&I 2023 ANNUAL OUTAGE                3/13/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23254421                                                                         SCAFF #06 CHIP CONVEYOR OHM METER                      3/22/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23372864                                                                         INSTALL TEMP CATWALK TC WATER FLOW METER               4/17/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23373550                                                                         SCAFF #3 CHIP SILO BINDICATOR - 12 MONTHS              4/17/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23408201                                                                         SCAFF #2 PM RELIEF VALVE IN COURTYARD                  4/25/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23454400                                                                         SCAFF #2 PM DRIVE SIDE FLOOR BEAMS 2023 AO             5/10/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23228450                                                                         INSUL E-LINE 6TH EFFECT STRAIGHT SHELL                 3/15/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23442795                                                                         SCAFF WEST SIDE #1 SSR UNIT RIGGING                     5/5/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23469716                                                                         SCAFF #5 RB STARTUP VENT LINE A-14 VALVE               5/15/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23452638                                                                         SCAFF NEW SHAKER BLDG LIGHT REPAIR                      5/9/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23517341                                                                         SCAFF BATCH DIGESTER MEZZ STEAM LEAK                   5/31/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23524430                                                                         SCAFF PULP MILL TANK FARM BLACK LQR LEAK                6/2/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23517924                                                                         SCAFF #4 RB BLACK LQR LN PIPE HANGERS                  5/31/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23528468                                                                         INSUL #4 RB 150# STEAM HEADER CHECK VALVES              6/5/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23513395                                                                         SCAFF NW CORNER EVAP BLDG B-SET BOILOUT LN             5/30/2023
WestRock CP, LLC                     Williams Specialty Services, LLC             Purchase Order # 23512378                                                                         CLEAN OFF TOP OF MUD WASHER TANK                       5/30/2023
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                                                                                                                                                                                                                                                                                                                 Contract/
             Non-debtor Counterparty                         Debtor                                                                                    Contract                                                                                                    Description
                                                                                                                                                                                                                                                                                                                  PO Date
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23528599                                                                                                                SCAFF #5 RB #110 & #111 PUMP SAMPLE LINES                                             6/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23497850                                                                                                                SCAFF SECONDARY FIBER LIGHT REPAIRS                                                  5/24/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23540706                                                                                                                SCAFF TALL OIL PLANT WET OIL TANK HEATER                                              6/8/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23529530                                                                                                                INSUL #1 PM DRYER CAN STEAM LINES                                                     6/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23528482                                                                                                                SCAFF #1 PM #14 MOTOR COOLING DUCTWORK                                                6/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23534174                                                                                                                INSUL #1 PM DRYER CAN STEAM HEADER                                                    6/6/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23558876                                                                                                                INSUL #5 PPT EYEWASH SUPPLY LINE                                                     6/14/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23577587                                                                                                                SCAFF SEC FIBER SEAL WATER LINE LEAK                                                 6/20/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23569728                                                                                                                SCAFF TALL OIL PLANT 4" WATER LINE                                                   6/16/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23567327                                                                                                                SCAFF #2 PM STRETCH CHAINS COLUMN LN M-16                                            6/16/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23563327                                                                                                                INSUL BLEACH PLANT 50% CAUSTIC TRANSFER LN                                           6/15/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23572892                                                                                                                SCAFF WEST SIDE TILE CHEST WEST OF MAIN LAB                                          6/19/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23572921                                                                                                                SCAFF #2 PM BASEMENT DRIVE SD #565 VALVE                                             6/19/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23612568                                                                                                                SCAFF #2 PM PRESS PIT CONSISTENCY VALVE                                              6/29/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23582687                                                                                                                CLEAN UP FELT BOXES #1 & #2 PM JUNE OUTAGES                                          6/21/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23615937                                                                                                                SCAFF #3 PM PRESS PIT RECERT LINE                                                    6/29/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23584929                                                                                                                SCAFF #2 LIME KILN PRECOAT CAMERA                                                    6/21/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23536038                                                                                                                INSUL #3 PM MOTOR COOLING DUCTWORK                                                    6/7/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23567328                                                                                                                INSUL #2 PM DESUPERHEATER VALVE                                                      6/16/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23642349                                                                                                                SCAFF BLACK LQR FILTER BLDG PRIMARY BASKET                                            7/7/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23660622                                                                                                                INSUL LVHC CONDENSATE POT INLET VALVE                                                7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23633901                                                                                                                LN 1- LABR SCAF WWTP #1 PRIMARY CLARFR SUMP BYPASS VLV                                7/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 22977177                                                                                                                REPL CHARCOAL SEC FIBER RACK RM WV UNIT                                              1/30/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23612595                                                                                                                SCAFF SEC FIBER FINAL PHASE LIGHT REPAIRS                                            6/29/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23658329                                                                                                                SCAFF SOUTH CHIP PILE RECLAIM RACK CABLE                                             7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23642349                                                                                                                LN 2- INSUL E-LINE PIPE FLANGE EAST END MEZZ                                          7/7/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23658375                                                                                                                SCAFF SHAKER SCREEN CLEANOUT DOORS                                                   7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23660627                                                                                                                SCAFF #4 RB BLACK LQR LINE SPOOL SECTIONS                                            7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23660671                                                                                                                INSUL #5 RB 150# STEAM LINE REPAIR                                                   7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23657742                                                                                                                SCAFF #1 PM ROLL HANDLER REPAIR                                                      7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23657829                                                                                                                SCAFF E-LINE MEZZ REX A #130 PROBE                                                   7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23696802                                                                                                                SCAFF #1 PM SPRINKLER SYSTEM AFTER FIRE                                              7/20/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23658333                                                                                                                SCAFF BLEACH PLANT SW STAIRWELL SUPPORT                                              7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23663944                                                                                                                SCAFF KAMYR DIGESTER SUBST CONDENSATE LN                                             7/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23665636                                                                                                                SCAFF #2 LIME KILN DIVERTER GATE CHUTE                                               7/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23665045                                                                                                                SCAFF #25 CONVEYOR CHUTE REPAIR                                                      7/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23665643                                                                                                                SCAFF DOMESTIC WTR LN TOP OF DORR TANKS                                              7/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23670537                                                                                                                SCAFF #4 RB BLACK LQR LN LK MEZZ N WALL                                              7/14/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23670542                                                                                                                SCAFF #10 PB #26 & #27 BARK CONVEYOR CHUTE                                           7/14/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23678831                                                                                                                SCAFF #3 PM JULY 18TH OUTAGE                                                         7/17/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23695151                                                                                                                SCAFF #1 LIME KILN RECLAIM WATER PUMP                                                7/20/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23696790                                                                                                                SCAFF MAIN STARCH COOK TANK PLATFORM                                                 7/20/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23696863                                                                                                                INSUL #3 PM AQUATROL HEATER VALVE                                                    7/20/2023
WestRock CP, LLC                       Williams Specialty Services, LLC             Purchase Order # 23696800                                                                                                                SCAFF #3 PM UNORUN CONDUIT LIGHT REPAIR                                              7/20/2023
WRS Environmental Services             Williams Specialty Services, LLC             Lump Sum Subcontract 07920021SC02                                                                                                        Asbestos Services                                                                    7/13/2021
Zoho                                   Williams Industrial Services Group, L.L.C.   PO#88019-285                                                                                                                             IT management Tools                                                                  7/15/2022
Zoom                                   Williams Industrial Services Group, L.L.C.   Zoom Amendment Form Number: Q1844858                                                                                                     Phone System                                                                        12/12/2022
Lockstep Technology Group              Williams Industrial Services Group, L.L.C.   Lockstep Managed Services Agreement                                                                                                      Managed Services Provider                                                            9/22/2021
Cigna HealthCare                       Williams Industrial Services Group Inc.      Cigna HealthCare Group Services Agreement for Williams Industrial Services Group, Inc., Account Number 0630873, current in effect.       Financial proposal for certain Cigna plans                                            1/1/2023
EnergySolutions                        Williams Specialty Services, LLC             Professional Services Agreement                                                                                                          Memphis Support of Williams Specialty Services, LLC Container Handling Activities    2/23/2011
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Report                       Litera Compare for Excel 11.3.1.0
                             Comparison done on 9/7/2023 11:33:08 AM
Render Name:                 Default Style
                             C:\Users\nghanem\Downloads\Schedule A to
                             Subsequent Designation Notice - Designated Contracts
Original file:               [RG 9.5.23] (3).xlsx
Modified file:               C:\Users\nghanem\Downloads\lIST FOR 9.7.xls
Value Change:                2
Modified:                    0
Row Add:                     4
Row Del:                     1
Col Add:                     0
Col Del:                     0
Formula And Value Change:    0
Formula Change Only:         0
Formula Auto Adjusted:       0
Format Modified:             0
Hyperlink Add:               0
Hyperlink Del:               0
Hyperlink Modified:          0
Image Add:                   0
Image Del:                   0
Image Modified:              0
Chart Add:                   0
Chart Del:                   0
Chart Modified:              0
Comment Add:                 0
Comment Del:                 0
Comment Modified:            0
Sheet Visibility Modified:   0
Sheet Name Modified:         1
Protection Add:              0
Protection Del:              0
Named range Add:             1
Named range Del:             0
Named range Modified:        1
Shape Add:                   0
Shape Del:                   0
Shape text Modified:         0
Pivot table Add:             0
Pivot table Del:             0
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Header Add:                  0
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Total Changes:              10
